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                                            UNITED STATES DISTRICT COURT
            13
                                           NORTHERN DISTRICT OF CALIFORNIA
            14
                                               SAN FRANCISCO DIVISION
            15

            16
                 ORACLE AMERICA, INC.,                        Case No. 3:10-cv-03561-WHA
            17
                                                 Plaintiff,   DECLARATION OF OWEN
            18                                                ASTRACHAN IN SUPPORT OF
                        v.                                    DEFENDANT GOOGLE INC.’S MOTION
            19                                                FOR SUMMARY JUDGMENT ON
                 GOOGLE INC.,                                 COUNT VIII OF PLAINTIFF ORACLE
            20                                                AMERICA’S AMENDED COMPLAINT
                                               Defendant.
            21                                                Judge:     Hon. William Alsup

            22                                                Hearing:   2:00 p.m., September 15, 2011

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             1             I, Owen Astrachan, declare as follows:

             2             1.     I am Professor of the Practice of Computer Science and Director of

             3   Undergraduate Studies in the Computer Science Department at Duke University. I earned my

             4   AB degree with distinction in Mathematics from Dartmouth College and MAT (Math), MS, and

             5   PhD (Computer Science) from Duke University. I submit this declaration in support of

             6   Defendant Google Inc.’s Motion for Summary Judgment on Count VIII of Plaintiff Oracle

             7   America, Inc.’s Amended Complaint. I make this declaration based on my own personal

             8   knowledge. If called as a witness, I could and would testify competently to the matters set forth

             9   herein.

            10             2.     I have been retained to provide my opinions on certain issues related to the

            11   copyright claim in this case.

            12             3.     Attached hereto as Exhibit 1 is a true and correct copy of the opening expert

            13   report (“Astrachan Opening Report”) I prepared in this action, which is a true and correct

            14   expression of my opinions based on the facts I currently know (subject to the qualifications noted

            15   below, which are due to narrowing by Oracle of its copyright infringement contentions after I

            16   signed the Astrachan Opening Report). The Astrachan Opening Report also provides a more

            17   detailed description of my qualifications and experience, including a CV which is attached to

            18   Exhibit 1 as Exhibit A. Paragraphs 3-5 of the Astrachan Opening Report also provide a more

            19   detailed description of the scope of my retention.

            20             4.     Attached hereto as Exhibit 2 is a true and correct copy of James Gosling’s “The

            21   Feel of Java” paper, Computer, Vol. 30, Issue 6, June 1997, which I quoted from in paragraph

            22   124 of the Astrachan Opening Report.

            23             5.     I signed the Astrachan Opening Report in the evening on Friday, July 29, 2011. I

            24   understand that after I had signed the Astrachan Opening Report, Oracle served supplemental

            25   responses to certain of Google’s interrogatories. I have now reviewed the July 29, 2011

            26   supplemental responses, which were not available to me at the time I signed the Astrachan

            27   Opening Report.

            28             6.     In preparing the Astrachan Opening Report, I relied on Oracle’s interrogatory

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             1   responses as they then stood. Prior to its July 29, 2011 supplemental responses, Oracle’s

             2   interrogatory responses asserted that 48 API packages were at issue (and I have been told that

             3   before that, Oracle asserted that 51 API packages were at issue). Oracle’s July 29, 2011

             4   supplemental responses assert that 37 (rather than 48 or 51) API packages are at issue. Other

             5   than removing some API packages from its copyright infringement contentions, Oracle’s July 29,

             6   2011 supplemental responses appear to assert the same bases for alleged similarities as its prior

             7   supplemental responses.

             8           7.     In light of Oracle’s July 29, 2011 narrowing of its copyright infringement

             9   contentions, I would qualify the statements in the Opening Astrachan Report in the following

            10   ways:

            11                  a. In paragraph 21, where I state what API packages I understand to be at issue

            12                      in this case, I would delete reference to the eleven API packages that Oracle

            13                      no longer places at issue in this case, namely “java.math” and the ten

            14                      packages that begin with “java.xml.”

            15                  b. Similarly, in paragraph 100, the discussion of java.math and java.xml is no

            16                      longer necessary.

            17                  c. In the first sentence of paragraph 102, I would revise downward the three

            18                      numbers: “In the Android packages at issue, there are 472451 public classes,

            19                      150133 public abstract classes, and 176161 public interfaces.” (Here, and

            20                      below, I indicate deletions using strikethrough, and additions using italics.)

            21                  d. The chart in paragraph 110 offers statistics about Oracle’s implementation of

            22                      the APIs at issue. In light of Oracle’s narrowing of its copyright contentions, I

            23                      would make the following revisions to the chart:

            24     Method name                     Number of          Functionality?
            25                                     Times
                                                   Repeated
            26
                   toString                        194184             Converts an object to a String.
            27
                   equals                          157149             Tests to see if two objects are equal.
            28

                                                                  2
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             1    hashCode                     147139            Creates a “Hash Code” (a numeric
             2                                                   representation) of a class.

             3    run                          139121            Runs the code in the object.
                  read                         96                Reads (typically to a stream of characters).
             4
                  write                        94                Writes (typically to a stream of characters).
             5
                  remove                       8886              Removes something (exactly what is
             6
                                                                 removed depends on the class).
             7
                  get                          74                Gets the value of an object.
             8
                  close                        72                Closes a stream.
             9
                  size                         68                Returns the number of items in a collection
            10                                                   of items.

            11    clear                        6160              Clears the content of the thing referenced.

            12    clone                        5958              Clones the thing referenced.

            13    TOTAL                        12491201          These 10 method names are used by
                                                                 roughly 1/6 of the methods in Oracle’s
            14                                                   implementation of Java 1.5.

            15
                             e. In paragraph 114, I would revise downward three numbers in the following
            16
                                sentence: “In Oracle’s implementation of Java 1.5, nearly one-third of the
            17
                                method names at issue (2,5782,373 of the 7,7967,252 methods) are
            18
                                determined by these rules, including roughly 2,000 that begin with either ‘get’
            19
                                or ‘set,’ and 168149 named simply ‘equals.’”
            20
                             f. In paragraph 115, I would revise several numbers: “An additional 2,3472,218
            21
                                method names were single words, like ‘run’ or ‘add.’ The remaining
            22
                                2,8712,661 methods are not long or complicated — they are, on average, only
            23
                                2.3442.342 words ‘long’ (counting a method name like locateURL as two
            24
                                words and findBestMatch as three words). In Android, of the 92978693 total
            25
                                methods, 32202961 are unique methods, 26762533 or 28.8%29.1% are one
            26
                                word names, 29092721 are required names (like the ‘get’ and ‘set’ examples
            27
                                above), leaving 3,7123,439 other methods whose average word length is
            28

                                                             3
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             1                    2.412.42.”

             2                 g. In paragraph 141, I would make these two revisions to the following sentence:

             3                    “The 4837 APIs at issue are roughly one-thirdless than one-quarter of the

             4                    Android Runtime Core Libraries, which currently contains 168 API

             5                    packages.”

             6                 h. I would revise downwards several numbers in paragraph 143: “Using a

             7                    Python script SlocCounter.py (attached as Exhibit E) based on the ‘sloccount’

             8                    tool, a commonly-used tool for measuring the size of the source code of large

             9                    software projects, Android’s implementation of the APIs at issue in the

            10                    ‘Gingerbread’ release constitutes 259,474237,158 lines of code, in 1022917

            11                    files. This is roughly 1.6%1.5% of the size of the entire Android source code,

            12                    which comprises 57,076 files and 15,347,169 lines of code,4 and roughly

            13                    15%14% of the 6,340 files and 1,713,087 lines of code5 in the overall Android

            14                    (Gingerbread) Runtime Core Libraries. Similarly, implementation of these

            15                    APIs is a small portion of Oracle’s JDK 1.5 implementation of the entire Java

            16                    API, constituting 315,570292,988 lines of code out of 2,867,712 (11%10% of

            17                    the total) and 1001881 files out of 9521 (10.5%9.2%).”

            18                 i. Similarly, in paragraph 144 I would say 1.5% instead of 1.6%.

            19          8.     None of these qualifications change any of the opinions that I offered in the

            20   Opening Astrachan Report.

            21

            22                 I declare under penalty of perjury that the foregoing facts are true and correct.

            23   Executed on August 1, 2011 in Durham, North Carolina.

            24

            25
                                                                     Owen Astrachan
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